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AO 9l (Rev.   ll/11) Cdohal   Complaint



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                                                                 for the
                                                       District ofNew Mexico                                              AUGl02w
                   United States of America
                               v.
                                                                                                           MTTGHELL R. Bef enS
                    John Oliver Hamilton                                    CaseNo,
                                                                                                                 CLERK OF COURT
                                                                                      22-Mr-      )30I

                          Defendan(s)


                                                  CRIMINAL COMPLAINT
         I, the oomplainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s)       of                27 July2022                in the county   of        .    DonaAna            in the
                       District    of         New Mexico        , the defendant(s) violated:

              Code Section                                                    Offense Description
Title 18, U.S.C.84a(e)                          lnterstate Threats




         This criminal complaint is based on these facts:
See Affidavit




         d    Continued on the attached sheet.



                                                                                                Complainant's signature

                                                                                       SpecialAgent David S. Gabriel
                                                                                                Pinted name and title

Signed electronically and sworn telephonically.



Date:     frAthf DtruZ                                                                            Iudge's signature

City and state:                    Las Cruces, New Mexico                     The Hon. Carmen E.Garza, US Magistrate Judge
                                                                                                Pinted name and title
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          I, David S, Gabriel, a Special Agent with the Federal Bureau of Investigation (FBI), being

duly swom, depose and state as follows:

          l.         I have been employed      as a Special   Agent (SA) of the FBI since May of 2018. I am

olassified, trained, and employed as a federal law enforcement offieer with statutory arrest

authority charged with conducting criminal investigations of alleged violations of federal criminal

statutes, including     Title   18   ofthe United States Code. I am currently assigned to the Albuquerque

Field Offrce, Las Cruces Resident Agency, New Mexico. Prior to my current position,                      I   was

employed for six years as an analyst and briefer in a federal intelligence service.             I am currently
assigned   to investigate violations of federal law, including Indian County Crimes and violent

crimes against children.

         2.      During my tenure with the FBI, I have received formal and infsrmal training in

conducting a variety of criminal investigations. I have participated in the execution of arrest and

search warrants and seized evidence ofthese violations, conducted surveillance, and investigated

violent crimes against children. I have conducted dozens of interviews, to include witness, subject,

and   victim interviews.

         3.      The information contained herein is based upon my own investigations as well as

inflormation supplied to me by other duly sworn law,enforcement offrcers, and does not contain all

information known by me, only facts for consideration of probable cause.

         4,      I   make this affrdavit in support of a criminal complaint that on or about July 27,

2022,inDofla Ana County, in the District.ofNew Mexico, in the city of Las Cruces, John Oliver

Hamilton, using a telephone, willfully made threats to             kill staff of New Mexico   State University

(NMSU) and to unlawfully destroy buildings of the NMSU campus by means of fire in violation
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of Title 18, United States Code, Sections 844(e).

                                             Belevant Statutes

         5.        Title   18 U.S.C. $ 8a4(e) states: "whoevern through the use of the mail, telephone,


telegraph, or other instrument       of interstate or foreign colnrnerce, or in or affecting interctate or

foreign commerce,      willfully makes any threat, or maliciously conveys false information knowing

the sarne to be false, concerning an attempt or alleged atternpt being made, or to be rnade, to        kill,

injure, or intirnidate any individual or unlawfully to damage or destroy any building, vehicle, or

othel real or pemonal property by means of fire or an explosive shall be imprisoned for not more

than 10 years or fined under this title, or both."

                                              Probable Cause

         6.        On July 27,2A:22, staff atNew Mexico State University's Offrce of Institutional

Equality oontacted NMSU'Police to repoft a string of telephonic threats being made to NMSU

personnel by an indMdual flrat had been placed on that date. NMSU recorded rnr.lltiple calls from

this individual and provided them to the NMSU Police, who later provided them to me. I reviewed

these calls myself prior to subrnitting this affrdavit. In multiple calls, the caller identifies himself

     o'John
as            Hamilton" and provides his telephone number. Open source infounation available to me

attributes the phone number listed         in the calls to Hamilton with an associated    address    in Las

Cruces, New Mexico. The          NMSU staff told the responding officer that Hamilton has threatened

university staffbefore and they were already aware of him.

          7.       In the calls, Hamilton rnakes multiple explicit threats including:     "I'll   burn your

fucking entire school down in thirty fticking minutes. There won't be enough fire trucks in the area

to put   it out."l In one call, Hamilton says NMSU is "playing with fire" by bothering him because


t In the calls, Hamilton also stated: "Yon know what         I'rn gonna do right? I'm gonna corne down
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 he does not know how long he            will live and thereforo he "could get every building in that place
 burning fiercely within half an hour...coke bottlehere, coke bottle there.,,
                                                                              Based on my training

 and experience,       I believe this is a reference to construction of a Molotov cocktail,                    typically
 constructed from a glass bottle        filled with flammable liquid thrown            at an arson target. In that same

 call, Hamilton says he believes'ho lives matter...which means                        I don,t care if I   take lives...it
 doesn't matter to me. Any loss is no loss whatsoever.                I   have made no threats. I just pointed out

 that in my mind, no lives matter, that means your teachers, your students, your caterers,
                                                                                                                 I don,t
 care who they are." Later her says        'ol'll   be happy to see   all of you die. . ., If I choose, which I have

 not, but   if I did, I cotrld   have that entire campus burning          at   1200 degrees or more in half an hour.,,

 Hamilton also threatened specific staff'at'the schsol. Harnilton appears to be very upset
                                                                                           in the calls

and can be heard screaming and panting at times.

        8.         On July 27, 2022, Hamilton was arrested by New Mexico State police
                                                                                      QrlMSp)
related to the incidents described above. NMSP went to the address that matches
                                                                                the address                            I
atkibute to Hamilton based on open source information. Hamilton was not at that address atthat

time, but a person at that address directed law enforcernent to the location that person believed

Hamilton would be at. NMSP then went to that location and found Hamilton. At the time, without

being questioned, Hamilton told the arresting officers he knew why they were there to arrest him,

denied making any threats, and claimed he was the                victim of a conspiracy.

        9.        Follow up investigation revealed that the cellular provider for Hamilton,s phone is

T-Mobile/sprint, which I know is part of            a national   cellular network.

                                                      Conclusion

        10.       Given the information listed above, I submit that probable cause exists to believe



there and   kill all of you," "That fucking school that          has made me want to       just kill all of you.',
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that John Oliver Hamilton violated   Title   18 U.S.C. $ 8aa(e) which makes   it   a crirne   for any person

to use a telephone to flueaten to kitl another person or destroy a building by means of              fire. I

respectfully lequest an arrest wanant be issued for John Oliver Hamilton.

       11.    Assistant United States Attorney Marisa Ong approved prosecution in this case.


                                                 Respectfully submitted,


                                                  CIJil $XJ
                                                 ffi
                                                 Special Agent
                                                 Federal Bureau of Investigation



Subscribed and sworn to before me this       lQh           of August zoz2.




The Honorable Carmen E. Garza
United States Magistrate Judge




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